Oo ©o8 TD DR UW BRB WwW He

MON UNM UN UNOS lS S| OSE RR ESO ES Olle

C

ase 8:16-ap-01114-ES Doc 39 Filed 11/16/16 Entered 11/16/16 15:38:16
Main Document Page 1of2 ,

MARCEREAU & NAZIF

Robert H. Marcereau (SBN 211534)
Sy Nazif (SBN 228949)

26000 Towne Centre Drive, Suite 230
Foothill Ranch, CA 92610

Tel: (949) 531-6500

Fax: (949) 531-6501

||ATTORNEYS FOR CREDITORS and PLAINTIFFS

Kelli Peters, Bill Peters and Sydnie Peters

UNITED STATED BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA — SANTA ANA DIVISION

In re: . Case No. 8:16-bk-10223-ES

Kent W. Easter, dba Kent Easter

Consulting, dba Law Offices of Kent W.
Easter oO NOTICE OF CONTINUANCE OF
STATUS CONFERENCE

Date: March 9, 2017

Kelli Peters, Bill Peters and Sydnie Peters, | Time: 9:30 a.m.
Dept.: 5A
sas Location: 411 Fourth Street
Plaintiffs, Santa Ana, CA 92701
YS.

Kent W. Easter, dba Kent Easter
Consulting, dba Law Offices of Kent W.
Easter,

Defendants.

TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:

Adversary Case No.: 8:16-ap-01114-ES

Desc

PLEASE TAKE NOTICE that the Status Conference in the above-captioned case has been

continued to March 9, 2017 at 9:30 a.m. in Department 5A. The Parties are to file an updated status

report with the Court by March 2, 2017.

Dated: November 16, 2016 MARCEREAU & NAZIF

/sf Robert H. Marcereau
Robert H. Marcereau
Attorneys for Plaintiffs

1

NOTICE OF CONTINUANCE OF STATUS CONFERENCE

Case 8:16-ap-01114-ES Doc39 Filed 11/16/16 Entered 11/16/16 15:38:16 Desc
Main Document Page 2 of 2

PROOF OF SERVICE OF DOCUMENT

lam over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
26000 Towne Centre Drive, Suite 230, Foothill Ranch, California 92610

A true and correct copy of the foregoing document entitled (specify): NOTICE OF CONTINUANCE OF STATUS
CONFERENCE will be served or was served (a) on the judge in chambers In the form and manner required by LBR 5005-
2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTIGE OF ELECTRONIC. FILING (NEF): “Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink fo the document. On (date)
11/16/16, | checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Robert P. Goe: kmurphy@goeforlaw.cam, rgoe@goeforlaw.com; goeforecf@gmail.com
Trustee, Weneia M. Kosmala: ecf.alert+Kosmala@ititlexi.com; wkosmala@txitrustee. com; am@batrustee. com;
kgeorge@kosmatalaw.com
United States Trustee: ustpregion16.sa.ecf@usdoj.gov
[1 Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:

On (date) 11/16/16, | served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.

Debtor/Defendant Attomey for Debtor/Defendant: Trustee:

Kent W. Easter Robert P. Goe Weneia M Kesmala

153 Baywood Dr. Goe & Forsythe, LLP - 3 MacArthur Place, Suite 760
Newport Beach, CA 92660 18101 Von Karman, Ste 1200 Santa Ana, CA 92707

irvine, CA 92612
Judge: Hon. Erithe A. Smith, U.S.
Bankruptcy Court Central District, 411
W. Fourth St, Suite 5040 / Ctrm 5A,
Santa Ana, CA 92701-4593

[1] Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISION OR EMAIL (state method for
gach person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on 11/16/18 | served the following

persons and/or entities by personal delivery, overnight mail service, or (for thase who consented in writing to such service

method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, ar ovemight mail to, the judge will ba completed no later than 24 hours after the document is filed.

CO Service information continued on attached page

declare under penaity of perjury under the laws of the United States that the foregoing is true and correct.

11/16/2016 Nicole Lipowski /s/ Nicole Lipowski
Date Printed Name Signature

This form is mandatory. [t has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2042 F 9013-3.1.PROOF.SERVICE
